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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

JD (“JOHN”) FLOYD,                            )
                                              )
               Plaintiff,                     )       Civil Action No. 19-8769
                                              )
v.                                            )       Section H
                                              )       Judge Jane Triche Milazzo
DETECTIVE JOHN DILLMANN;                      )
DETECTIVE MICHAEL RICE;                       )       Division 3
THE CITY OF NEW ORLEANS;                      )       Chief Magistrate Judge Michael B. North
LEON CANNIZZARO, JR., in his official         )
capacity.                                     )
           Defendants.                        )
                                              )
                                              )

                      JOINT LETTER REQUESTING DISMISSAL OF
                      PLAINTIFF’S CLAIMS WITHOUT PREJUDICE

       Plaintiff JD (“John”) Floyd and Defendant City of New Orleans, through undersigned

counsel, write to inform the Court that the parties have reached an agreement in principle to a full

and final settlement of Mr. Floyd’s claims in this action. While the Parties are still finalizing the

terms of the Agreement, they respectfully request that the claims in this action be dismissed

without costs and without prejudice to the right, upon good cause shown, within sixty days, to

reopen the action if the settlement is not consummated.


Dated: May 5, 2023                                    Respectfully submitted,

                                                      /s/ Emma Freudenberger
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 5th day of May 2023, a copy of the foregoing was
served on counsel of record for all parties via the Court’s ECF system.

                                                                 /s/ Katie McCarthy____
                                                                 An Attorney for Plaintiff




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